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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                               CASE NO. 1-22-cv-12084-ADB
__________________________________________
                                          )
BECK BODE, LLC                            )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )
                                          )
CAROLANN BROWN                            )
                                          )
     Defendant.                           )
__________________________________________)

                                REPLY TO COUNTERCLAIM


       Plaintiff and Defendant-in-Counterclaim Beck bode, LLC (“Beck Bode”) responds to the

counterclaim of Defendant and Plaintiff-in-Counterclaim Carolann Brown (“Brown”) as follows:

                                                  I. Parties

       1.       Upon information and belief, admitted.

       2.       Admitted.

       3.       Paragraph 3 of the counterclaim states a conclusion of law to which no response is

required.

                                        II.      Material Facts

       4.       Beck Bode is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in paragraph 4.

       5.       Upon information and belief, admitted.

       6.       Beck Bode is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in paragraph 6.



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       7.      Beck Bode is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in paragraph 7.

       8.      Beck Bode is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in paragraph 8.

       9.      Beck Bode is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in paragraph 9.

       10.     Denied.

       11.     Denied.

       12.     Denied.

       13.     Denied.

       14.     Denied.

       15.     Denied.

       16.     Beck Bode denies that the parties entered into the agreement for the reasons stated

in the prior paragraphs. Otherwise, admitted.

       17.     The agreement, read as a whole, speaks for itself.

       18.     The agreement, read as a whole, speaks for itself.

       19.     Denied.

       20.     Beck Bode admits that it provided an Investment Advisory Agreement which

Brown could furnish to clients. The agreement, read as a whole, speaks for itself.

       21.     Denied.

       22.     Denied.

       23.     Denied.

       24.     Denied.



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          25.   Denied.

          26.   Denied.

          27.   Denied.

          28.   Denied.

          29.   Denied.

          30.   Denied.

          31.   Beck Bode states that the agreement, read as a whole, speaks for itself. Otherwise,

denied.

          32.   Denied. In further answering, Beck Bode states that it had not such obligation.

          33.   Denied. In further answering, Beck Bode states that it had not such obligation.

          34.   Beck Bode denies the existence of the issues alleged. Beck Bode is without

sufficient knowledge or information so as to form a belief as to the truth of the remainder of the

allegations contained in paragraph 34.

          35.   Beck Bode is without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in paragraph 35.

          36.   Admitted that there were discussions. Otherwise, denied.

          37.   Beck Bode admits that a meeting took place, but denies that this was the first

discussion on this topic.

          38.   Denied. In further answering, Beck Bode states that these agreements were

negotiated over a period of time by the parties and their attorneys.

          39.   Denied.

          40.   Denied.

          41.   Denied.



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42.   The agreement, read as a whole, speaks for itself.

43.   Denied.

44.   Denied.

45.   Denied.

46.   Denied.

47.   Denied.

48.   Denied.

49.   Denied.

50.   Denied.

51.   Denied.

52.   Denied.

53.   Denied.

54.   Denied.

55.   Denied.

56.   Admitted.

57.   The agreement, read as a whole, speaks for itself.

58.   Denied.

59.   Denied.

60.   Denied.

61.   Denied.

62.   Denied.

63.   Denied. In further answering, Beck Bode denies that it had any such obligation.

64.   Denied.



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       65.     Denied, except that Beck Bode admits that Mr. Savio, as Beck Bode’s Director of

Operations, did have some responsibility with respect to the transfer of clients to Beck Bode.

       66.     Denied.

       67.     Denied.

       68.     Denied.

       69.     Denied.

       70.     Denied.

       71.     Denied.

       72.     Denied.

       73.     Admitted.

       74.     Admitted.

       75.     Denied.

       76.     Denied.

       77.     Denied.

       78.     Beck Bode admits that it or its counsel received said letters, but denies the truth of

the allegations contained in the letters. In further answering, Beck Bode states that the letters,

read as a whole, speak for themselves.

       79.     Denied.

       80.     Denied.

       81.     Denied.

       82.     Denied.

       83.     Denied.

       84.     Denied.



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       85.     Denied.

       86.     Denied.

       87.     Denied.

       88.     Beck Bode is without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in paragraph 88.

       89.     Beck Bode denies that the Succession Agreement is not valid or is otherwise

terminable. Beck Bode admits that it made payments to Brown under the terms of the agreement.

       90.     Admitted.

       91.     Denied.

       92.     Denied.

       93.     Denied.

       94.     Denied.

       95.     Beck Bode admits that inquiries were made concerning the calculation of amounts

due under this Succession Agreement. Otherwise, denied.

       96.     Denied.
                                        III. Claims for Relief
                                              Count One
                                                Fraud
       97.     Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-96 as if fully set forth herein.

       98. Denied.
                                             Count Two
                                    Material Misrepresentation
       99.     Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-98 as if fully set forth herein.

       100.    Denied.
                                            Count Three
                                Breach and Material Breach of Contract

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        101.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-100 as if fully set forth herein.

        102.    Denied.

                                                Count Four
                               Tortious Interference with Business Relations
        103.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-102 as if fully set forth herein.

        104.    Denied.
                                           Count Five
                   The Massachusetts Consumer Protection Act, M.G.L. 93A, et seq.
        105.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-104 as if fully set forth herein.

        106.    Denied.
                                                   Count Six
                                           Breach of Fiduciary Duties
        107.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-106 as if fully set forth herein.

        108.    Denied.
                                                 Count Seven
                                          M.G.L. c. 151 Sections 1 & 7
        109.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-108 as if fully set forth herein.

        110.    Paragraph 110 states a conclusion of law to which no response is required. To the extent

that a response is required, denied.

        111.    Denied.

        112.    Denied.

        113.    Denied.

        114.    Beck Bode denies that it has violated the Massachusetts Minimum Wage Act.
                                                 Count Eight
                                       M.G.L. c. 149 Sections 148 & 150
        115.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-114 as if fully set forth herein.


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        116.    Paragraph 116 states a conclusion of law to which no response is required. To the extent

that a response is required, denied.

        117.    Denied.

        118.    Denied.

        119.    Denied.

        120.    Denied.

        121.    Beck Bode denies that it has violated the Massachusetts Wage Payment Act.
                                                   Count Nine
                                              Violation of the FLSA
        122.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-121 as if fully set forth herein.

        123.    Denied.

        124.    Denied.

        125.    Denied.

        126.    Denied.

        127.    Denied.

        128.    Beck Bode denies that it has violated the FLSA’s minimum wage payment requirements.
                                               Count Ten
                          Unlawful Retaliation\Termination-Massachusetts Law
        129.    Beck Bode repeats and realleges each and every response made to the allegations

contained in paragraphs 1-128 as if fully set forth herein.

        130.    Paragraph 130 states a conclusion of law to which no response is required. In further

answering, Beck Bode states that this statute, read as a whole, speaks for itself.

        131.    Denied.

        132.    Denied.
                                       Count Eleven
                          UNLAWFUL RETALIATION\TERMINATION-FLSA
        133.    Beck Bode he repeats and realleges each and every response made to the allegations

contained in paragraphs 1-132 as if fully set forth herein.




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        134.    Paragraph 134 states a conclusion of law to which no response is required. In further

answering, Beck Bode states that the statute, read as a whole, speaks for itself.

        135.    Denied.

        136.    Denied.

                              FIRST AFFIRMATIVE DEFENSE
The claims asserted in the counterclaim should be dismissed on the ground that they fail to state a

claim as to which relief may be granted.

                           SECOND AFFIRMATIVE DEFENSE
Brown’s claims are barred by her own words and deeds.

                            THIRD AFFIRMATIVE DEFENSE
Brown is estopped from asserting these claims.

                           FOURTH AFFIRMATIVE DEFENSE
Brown’s claims are barred by condition precedent.

                             FIFTH AFFIRMATIVE DEFENSE
Brown’s claims are barred in whole or in part on the ground of unclean hands.

                             SIXTH AFFIRMATIVE DEFENSE
Brown’s claims are barred in whole or in part on the ground of waiver.

                          SEVENTH AFFIRMATIVE DEFENSE
Brown’s claims are barred in whole or in part on the ground of failure to mitigate her damages, if

any.

                           EIGHTH AFFIRMATIVE DEFENSE
Brown’s claims are barred by her breaches of her fiduciary duties to Beck Bode.

                          NINTH AFFIRMATIVE DEFENSE
If Beck Bode owes Brown anything, which Beck Bode denies, the amounts owed by Brown to

Beck Bode exceeds the amounts owed to Brown.

                             TENTH AFFIRMATIVE DEFENSE
Brown’s claims are barred by prior breaches of the parties’ agreements.

                             ELEVENTH AFFIRMATIVE DEFENSE



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Brown’s claims under M.G.L. c. 93A fail because they are disputes between members of the same

business enterprise and do not arise in the context of a commercial market transaction.

       WHEREFORE, Beck Bode, LLC prays that this Court:

       a. Dismiss the Counterclaim and enter judgment in its favor on all counts of the

       Counterclaim;

       b. Award Beck Bode costs and attorney’s fees; and

       c. Order such other and further relief as this Court deems just and proper.

                                       JURY DEMAND

BECK BODE DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




                                             Respectfully submitted,

                                             Beck Bode, LLC

                                             By its attorneys:

                                             /s/ J. Allen Holland, Jr.
                                             J. Allen Holland, Jr. (BBO# 6546892)
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                                      CERTIFICATION

        I hereby certify that, on this 23rd day of January, 2023, the within document was
electronically filed and served through the Court’s Electronic Filing System and is available for
viewing and/or downloading from the electronic filing system.


                                            /s/ J. Allen Holland, Jr.
                                            J. Allen Holland, Jr.




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